Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 1 of 6

Jeffrey §. Dubin, P.C.
Attorneys for Plaintiffs

464 New York Avenue

Suite 100

Huntington, New York 11743
(631) 351-0300

(631) 351-1900 FAX
DubinJS@cs.com

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

 

x
Fred Alston, as a Trustee of the LOCAL 272 Civil Action No.
LABOR-MANAGEMENT PENSION FUND;
Fred Alston, as a Trustee of the LOCAL 272 ECF CASE
WELFARE FUND,

Plaintiffs,

COMPLAINT
-against-

301 63 GARAGE LLC,

Defendant.

xX

Plaintiffs, complaining of the defendant, by their attorneys, JEFFREY S. DUBIN, P.C., allege
as follows:
Jurisdiction
1, The jurisdiction of this court is invoked pursuant to Section 502 of the Employee

Retirement Income Security Act of 1974 (E.R.I.S.A.) 29 U.S.C. § 1132, and 28 U.S.C § 1331.

Nature of Action
2. This is an action by a Trustee of two employee benefit plans under Section 502 of
E.R.LS.A., 29 U.S.C. § 1132, on behalf of the Trustees of the two plans, to enforce the obligations

of the defendant to make contributions to these plans; to obtain appropriate equitable relief, to wit,
Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 2 of 6

an accounting; to redress such violations; to enforce the provisions of E.R.I.S.A.; to enforce the
terms of the employee benefit plans.

3. More specifically this is an action to compel the defendant to furnish to the Plaintiffs
by audit, such books and records that will enable the Plaintiffs to determine the amount of
contributions owed to said employee benefit plans on behalf of plan participants employed by the
defendant, pursuant to Section 502(a)(3)(B) of E.R.LS.A., 29 U.S.C. § 1132(a}(3)(B); to require the
defendant to make such payments to the employee benefit plans, pursuant to Section 502(a)(3) of
E.R.LS.A., 29 U.S.C. § 1132(a)(3), as are determined to be due by said audits, plus reasonable
attorney fees, costs, interest and additional interest, pursuant to Section 502(g) of E.R.I.S.A., 29
USS.C. §1132(g).

3. The two plans provide pension and health benefits to thousands of active and retired
parking garage employees and their families.

4. ERISA requires the Trustees to take all reasonable steps to collect delinquent
contributions. ERISA further requires the Trustees to provide pension credits to plan participants

even if the Trustees are unable to collect delinquent contributions.

The Parties
5. Plaintiff, Fred Alston, as a Trustee of the Local 272 Labor-Management Pension Fund
(Pension Fund) and as a Trustee of the of the Local 272 Welfare Fund (Welfare Fund), is and was
a fiduciary within the meaning of Section 3(21) of E.R.1S.A., 29 U.S.C. § 1002(21).
6. The Pension Fund and the Welfare Fund are and were employee benefit plans within

the meaning of Section 3(3) of E.R.LS.A., 29 U.S.C. § Section 1002(3).

-2-
Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 3 of 6

7. The Pension Fund, and the Welfare Fund (Fringe Benefit Funds) are and were
administered within this district within the meaning of Section 502(e)(2) of E.R.1.S.A., 29 U.S.C.
§ 1132(e)(2), to wit, in the City, County and State of New York.

8. Upon information and belief, defendant is and was a limited liability company,
organized under the laws of the State of New York.

9. Defendant is and was an employer within the meaning of Section 3(5) of E.R.1.S.A.,
29 U.S.C. § 1002(5).

10. The Trustees of the Fringe Benefit Funds have authorized Fred Alston to bring this

action on their behalf.

 

11. Plaintiff, Fred Alston, as a Trustee of the Fringe Benefit Funds, repeats and realleges
each and every allegation set forth in paragraphs 1 through 10.

12. Heretofore, defendant entered into a contract with the Garage Employees Union Local
No. 272, affiliated with the International Brotherhood of Teamsters (the ““Contract”), which, inter
alia, provided for contributions by said defendant to the Fringe Benefit Funds for certain hours
worked by participants employed by said defendant.

13. The Contract is, by its terms, effective from March 6, 2015 to March 5, 2022.

14. The Fringe Benefit Funds are specified as Third Party Beneficiaries of said contract.

15. Pursuant to said contract, the Fringe Benefit Funds may require any employer of

employees covered by said contract to furnish to said Fringe Benefit Funds such information and

-3-
Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 4 of 6

reports and to make available by audit such books and records as they may require in the
performance of their duties and to collect contributions owed to the Fringe Benefit Funds.

16. | Upon information and belief, defendant employed persons who were participants in
the Fringe Benefit Funds within the meaning of Section 3(7) of E.R.I.S.A., 29 U.S.C. § 1002(7), and
is therefore obligated to pay contributions to each of the Fringe Benefit Funds for certain hours
worked by participants in its employ.

17. The Fringe Benefit Funds demanded that defendant furnish to said Funds such
information and reports, and to make available by audit such books and records in order to determine
the amount of contributions owed to the Fringe Benefit Funds on behalf of its participants for the
period January 1, 2016, to present.

18. Notwithstanding such demands, defendant has failed and refused to furnish to the
plaintiffs said information and reports and to make available by audit all books and records of all
defendant's "trades and businesses (whether or not incorporated) which are under common control"
of the defendant, within the meaning of Section 3(37)(B) of E.R.LS.A., 29 U.S.C. § 1002(37)B).

19. Plaintiffs are wholly ignorant of the amounts of money held by defendant except that
defendant has failed and refused to account to plaintiffs therefore in breach of the terms of its
Contract, and in breach of the Agreements and Declarations of Trust of the Fringe Benefit Funds.

20. Plaintiffs have no adequate remedy at law. This claim for relief seeks an accounting
under the courts equitable powers pursuant to Section 502(a)(3)(B) of E.R.LS.A., 29 U.S.C. §

1132(a)(3)(B).
Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 5 of 6

AS AND FOR A SECOND CLAIM FOR RELIEF
ON BEHALF OF PLAINTIFF FRED ALSTON,

21. Plaintiff, Fred Alston, as a Trustee of the Pension Fund, repeats and realleges each
and every allegation set forth in paragraphs 1 through 20.

22. Defendant has failed and refused and continues to refuse to pay to plaintiff the
amounts owed to plaintiff in breach of the terms of its Contract and in breach of the terms of the
Agreement and Declaration of Trust of the Pension Fund and in violation of the provisions of
Section 515 of E.R.I.S.A., 29 U.S.C. § 1145; upon information and belief, said amounts are as shall

be determined by the audit requested hereinabove.

AS AND FOR A THIRD CLAIM FOR
RELIEF ON BEHALF OF PLAINTIFF
FRED ALSTON, AS A TRUSTEE
OF THE WELFARE FUND

23. Plaintiff, Fred Alston, as a Trustee of the Welfare Fund repeats and realleges each and
every allegation set forth in paragraphs 1 through 22.

24. Defendant has failed and refused and continues to refuse to pay to plaintiff the
amounts owed to plaintiff in breach of the terms of its contract and in breach of the terms of the
Agreement and Declaration of Trust of the Welfare Fund and in violation of the provisions of
Section 515 of E.R.I.S.A., 29 U.S.C. § 1145; upon information and belief, said amounts are as shall
be determined by the audit requested hereinabove.

WHEREFORE, plaintiffs demand judgment:

1. On the First Claim for Relief in favor of plaintiffs that defendant immediately furnish
Case 1:19-cv-10761-UA Document1 Filed 11/20/19 Page 6 of 6

to said plaintiffs by audit all books and records of all defendant's trades and businesses (whether or
not incorporated) which are under defendant's common control, that will enable the plaintiffs Fringe
Benefit Funds to determine the amount of contributions owed to the Fringe Benefit Funds on behalf
of said participants employed by the defendant for the period January 1, 2016 to present.

2. On the Second Claim for Relief in favor plaintiff, Fred Alston, as a Trustee of the
Pension Fund and against defendant in the amount as shall be determined by the audit requested
hereinabove.

3. On the Third Claim for Relief in favor of plaintiff, Fred Alston, as a Trustee of the
Welfare Fund and against defendant in the amount as shall be determined by the audit requested
hereinabove.

4. In accordance with Section 502(g)(2) of E.R.I.S.A., 29 U.S.C.§ 1132(g)(2), awarding
plaintiffs reasonable attorney fees; interest; additional interest and costs of the action pursuant to
Section 502(g)(2)(D) of E.R.1.S.A., 29 U.S.C. § 1132(g)(2)(D),

AND, for such other, further, and different relief pursuant to E.R.LS.A., as this Court deems
appropriate.

Dated: Huntington, New York
November 20, 2019

     
  

ey S. Dubin
effrey S. Dubin, P.C.
Attorneys for Plaintiffs
464 New York Avenue
Suite 100

Huntington, NY 11743
(631) 351-0300

(631) 351-1900 FAX
DubinJS@cs.com

To: Defendant [Fed.R.Civ.P. § 4]
